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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

Daedalus Blue LLC
                                                    Civil Action No. 6:20-cv-00073
       Plaintiff,
                                                    The Honorable ________________________
               v.
                                                    COMPLAINT FOR PATENT
                                                    INFRINGEMENT
SZ DJI Technology Co., Ltd., &
DJI Europe B.V.
                                                    JURY TRIAL DEMANDED
       Defendants.

  COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff Daedalus Blue LLC (“Daedalus Blue”), files this Complaint for Patent

Infringement and Damages against Defendants SZ DJI Technology Co., Ltd. and DJI Europe B.V.

(collectively, “DJI” or “Defendants”), and would respectfully show the Court as follows:

                                            PARTIES

   1. Plaintiff Daedalus Blue is a Delaware limited liability company with its principal place of

       business located at 51 Pondfield Rd., Suite 3, Bronxville, NY 10708.

   2. On information and belief, Defendant SZ DJI Technology Co., Ltd. is a Chinese

       corporation with its principal place of business at 14th Floor, West Wing, Skyworth

       Semiconductor Design Building, No. 18 Gaoxin South 4th Ave, Nanshan District,

       Shenzhen, China. On information and belief, Defendant SZ DJI Technology Co., Ltd. is

       responsible for the development of DJI branded products sold in the United States.

       Although Defendant is engaged in business in the State of Texas, it has not designated an

       agent for service of process in the State. The Secretary of State, therefore, is an agent for


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   service of process for SZ DJI Technology Co., Ltd. pursuant to TEX. CIV. PRAC. & REM.

   CODE § 17.044(b).

3. On information and belief, Defendant DJI Europe B.V. is a European corporation with its

   principal place of business at Bijdorp-Oost 6, 2992 LA Barendrecht, Netherlands. On

   information and belief, DJI Europe B.V. sells DJI branded products in the United States.

   Although DJI Europe B.V. is engaged in business in the State of Texas, it has not designated

   an agent for service of process in the State. The Secretary of State, therefore, is an agent

   for service or process for DJI Europe B.V. pursuant to TEX. CIV. PRAC. & REM. CODE

   §17.044(b).

                            JURISDICTION AND VENUE

4. This is a civil action for patent infringement arising under the Patent Laws of the United

   States as set forth in 35 U.S.C. §§ 271, et seq.

5. This Court has federal subject matter jurisdiction over this action pursuant to 28 U.S.C.

   §§ 1331 and 1338(a).

6. This Court has personal jurisdiction over Defendants pursuant to TEX. CIV. PRAC. & REM.

   CODE § 17.041 et seq. General personal jurisdiction exists over Defendants because

   Defendants have minimum contacts with this forum as a result of business regularly

   conducted within the State of Texas and within this district, and, on information and

   belief, specific personal jurisdiction exists because Defendants have, at least, committed

   the tort of patent infringement within Texas and this district. Personal jurisdiction also

   exists because, on information and belief, Defendants have: (1) operated the Internet

   website, https://www.dji.com/, which is available to and accessed by users, customers,

   and potential customers of the Defendants within this judicial district; (2) sold



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   Defendants’ drone and drone-related products within this judicial district; (3) transacted

   business within the State of Texas; (4) actively infringed and/or induced infringement in

   Texas; (5) established regular and systematic business contacts within the State of Texas;

   and (6) continue to conduct such business in Texas through the sale of Defendants’ drone

   and drone-related products. Accordingly, this Court’s jurisdiction over the Defendants

   comports with the constitutional standards of fair play and substantial justice and arises

   directly from the Defendants’ purposeful minimum contacts with the State of Texas.

7. This Court also has personal jurisdiction over Defendants because, on information and

   belief, DJI and its authorized resellers (or those acting on their behalf) and DJI’s customers

   committed and continue to commit acts of patent infringement in this judicial district.

   Defendants transact business within the State of Texas and in this judicial district and have

   committed acts of patent infringement within the State of Texas and this judicial district as

   set forth hereinafter. Such business includes, without limitation, Defendants’ operation of

   the Internet website, https://www.dji.com/, which is available to and accessed by users,

   customers, and potential customers of the Defendants within this judicial district, and the

   sale of Defendants’ drone and drone-related products within this judicial district, both

   online at http://store.dji.com and through other official online stores, resellers/retail stores,

   and varied dealers within this jurisdiction, as provided at https://www.dji.com/where-to-

   buy/.

8. In addition to Defendants’ own online store at http://store.djj.com, Defendants have also

   sold their drone and drone-related products within this judicial district via the following

   means:




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 a. Defendants have official online stores with Amazon, Newegg, AliExpress, and

    eBay, all of which are available to and accessed by users, customers, and potential

    customers of the Defendants within this judicial district.




 b. In addition to official online stores, Defendants have a wide variety of resellers

    selling Defendants’ drones and drone-related products within this judicial district.




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                            Texas




      Austin, Texas                      San Antonio, Texas




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       Waco, Texas                                  El Paso, Texas


    Such resellers/retail stores include companies such as Walmart, Best Buy, Sam’s

    Club, Target, and Apple Store.




                        Example 1: Austin, Texas




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                  Example 2: San Antonio, Texas




                     Example 3: Waco, Texas




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                         Example 4: El Paso, Texas



 c. Defendants have also authorized over 80 online retailers, as listed at

    https://www.dji.com/where-to-buy/online-retails, and have extended warranties to

    products purchased from the authorized DJI Dealers. Such authorized dealers

    include those companies listed above (e.g. Walmart and Sam’s Club) and many

    more (e.g. Microsoft, BJ’s, Gamestop, Home Depot, Verizon Wireless, etc.). Most,

    if not all, of these online retailers are available to and accessed by users, customers,

    and potential customers of the defendant within this judicial district.




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 d. Defendants also have 25 designated professional dealers operating in the United

    States, all of which have online stores through which to sell Defendants’ drones and

    drone-related products, which are available to and accessed by users, customers,

    and potential customers of the Defendants within this judicial district. A complete

    list of professional dealers can be found at: https://www.dji.com/where-to-

    buy/professional-dealers.



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        e. On information and belief, relying in part on evidence presented in ¶ 8(b), DJI

           maintains a regular and established place of business with a significant physical

           presence in this judicial district, with a substantial amount of authorized resellers

           located within the district, as represented by information presented on: Austin,

           Texas; San Antonio, Texas; Waco, Texas; and El Paso, Texas. This information

           presented is not wholly representative of all authorized resellers located within the

           Western District of Texas, but merely demonstrative.

9. Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C.

   § 1400(b) based on the information and belief that the Defendants have committed or

   induced acts of infringement, and/or advertise, market, sell, and/or offer to sell products,

   including infringing products, in this judicial district, as discussed above.

                                THE PATENTS-IN-SUIT

10. On June 5, 2007, United States Patent No. 7,228,232 (“the ‘232 patent”), entitled

   “Navigating a UAV with Obstacle Avoidance Algorithms,” was duly and legally issued

   by the United States Patent and Trademark Office (“USPTO”) to William Kress Bodin,

   Jesse Redman, and Derral Charles Thorson, with the International Business Machines

   Corporation (“IBM”) as assignee. A copy of the ‘232 patent is attached hereto as Exhibit

   A.

11. On June 12, 2007, United States Patent No. 7,231,294 (“the ‘294 patent”), entitled

   “Navigating a UAV,” was duly and legally issued by the USPTO to William Kress Bodin,

   Jesse J. W. Redman, and Derral C. Thorson, with IBM as assignee. A copy of the ‘294

   patent is attached hereto as Exhibit B.




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12. On October 23, 2007, United States Patent No. 7,286,913 (“the ‘913 patent”), entitled

   “Navigating a UAV with Telemetry Through a Socket,” was duly and legally issued by

   the USPTO to William Kress Bodin, Jesse J. W. Redman, and Derral C. Thorson, with

   IBM as assignee. A copy of the ‘913 patent is attached hereto as Exhibit C.

13. The ‘232, ‘294, and ‘913 patents are referred to hereinafter as “the Daedalus Blue

   Patents.”

14. Plaintiff Daedalus Blue LLC is the owner of the entire right, title, and interest in and to

   the Daedalus Blue Patents, with the right to sue in its own name. The Daedalus Blue

   Patents were initially assigned by IBM to Daedalus Group LLC on or about September

   30, 2019. The respective assignments were recorded on November 14, 2019, at the U.S.

   Patent and Trademark Office. Daedalus Group LLC then assigned the patents to

   Daedalus Blue LLC, on or about January 24, 2020. The respective assignments were

   recorded on or about January 29, 2020, at the U.S. Patent and Trademark Office.

15. Each of the Daedalus Blue Patents are presumed valid under 35 U.S.C. § 282.

16. All patents-in-suit relate to innovative technology for piloting, controlling, navigating,

   and optimizing flight missions for unmanned aerial vehicles (“UAV” or “drone”).

                           United States Patent No. 7,228,232

17. The ‘232 patent claimed UAV obstacle avoidance technologies that anticipate the future

   position of the UAV through GPS sequencing, and avoid obstacles in dependence of that

   anticipated future position. Such obstacles may be physical three-dimensional objects

   such as buildings, mountains, and others that will occur to those of skill in the art; or two

   and three -dimensional geographic areas such as a no-fly zone. In the present complaint,

   Defendants’ suite of drones and drone-related products (infra ¶ 30) infringe on this



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   inventive aspect of the ‘232 patent. Representative of this infringement is Defendants’

   Phantom Series drones, including, but not limited to, the Phantom 4 Pro V2.0. The

   Phantom 4 Pro V2.0 houses a GPS module on-board, which transmits UAV location and

   flight control instructions back and forth from the UAV user’s remote-control device, and

   vice versa. In so doing, the GPS module tracks the UAV location and ensures the UAV is

   not entering a restricted zone and/or no fly zones. The Phantom 4 Pro V2.0, and other

   infringing UAVs described in later paragraphs, is designed to avoid these zones, either

   notifying the UAV user that the UAV is entering a zone or even disallowing take-off

   within a zone. Such functionality is within Defendants’ “Fly Safe” technology, as

   described at: https://www.dji.com/flysafe. All intelligent flight features are affected when

   DJI aircraft fly nearby or into GEO Zones. Such interference includes, but is not limited

   to, decreased speed, takeoff failure, and flight termination.

18. The ‘232 patent overcomes shortcomings in the prior art, which required conventional

   UAV operators to manually control the flight using the camera images from the UAV that

   were provided to the operator through downlink telemetry (col. 1, lines 18-23). Certain of

   the inventive aspects of the ‘232 patent addressed the need for improvements in the area

   of UAV navigation, by automating certain aspects of the UAV mission (col. 1, lines 26-

   30). More specifically, the inventive aspects of automatically identifying and avoiding

   obstacles that would otherwise disrupt the flight of the UAV (col. 17, lines 66-67), were

   not well-understood, routine, or conventional at the time of the invention.

                          United States Patent No. 7,231,294

19. The ‘294 patent claims UAV navigation technologies that maps a UAV’s position, from

   starting position and through waypoints, for a UAV user on a GUI map on a remote-



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   control device. In the present complaint, Defendants’ suite of drones and drone-related

   products (infra ¶ 30) infringe on this inventive aspect of the ‘294 patent. Representative

   of this infringement is Defendants’ Matrice Series, including, but not limited to the

   Matrice 200. The Matrice 200 functions with DJI’s “FlightHub,” the “DJI GO 4”

   application, “DJI GS Pro” application, and the “DJI Ground Station” application to map

   the UAVs’ position from the start of a mission, through mission waypoints, and to the end

   of a mission. For example, the Matrice 200, and other infringing products described in

   later paragraphs, use the DJI GO 4 application, which provides an “Intelligent Flight

   Mode” that maps the waypoints and starting position of a UAV’s mission through a GUI

   map and remote-control device.

20. The ‘294 patent overcomes shortcomings in the prior art, which required conventional

   UAV operators to manually control the flight using the camera images from the UAV that

   were provided to the operator through downlink telemetry (col. 1, lines 17-20). Certain of

   the inventive aspects of the ‘294 patent addressed the need for improvements in the area

   of UAV navigation, by automating certain aspects of the UAV mission (col. 1, lines 24-

   28). More specifically, the inventive aspects of automatically selecting waypoints using a

   mouseclick or joystick button click, to control the flight path of the UAV (col. 1, lines 33-

   36), were not well-understood, routine, or conventional at the time of the invention.

   Moreover, the ability to upload multiple waypoints enabled more complex missions to be

   performed with just a few keystrokes or mouseclicks on the remote control device (col. 1,

   lines 57-59 and col. 2, lines 2-4), which was also not well-understood, routine, or

   conventional at the time of the invention.




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                          United States Patent No. 7,286,913

21. The ‘913 patent claims UAV navigation technologies for downlink telemetry of the UAV

   to the user’s remote-control device, which then uplinks telemetry and flight control

   instructions to the UAV through a socket. Here, a socket is an end-point of a two-way

   communication link between two application programs running on a network. This

   communication link pairs the user’s remote-control device, or controller, with the drone

   or UAV to enable the user to operate the UAV. In some instances, a socket on a UAV

   would be considered a server-side socket, and a socket on a remote-control device may be

   considered a client socket. In the present complaint, Defendants’ suite of drones and

   drone-related products (infra ¶ 30) infringe on this inventive aspect of the ‘913 patent.

   Representative of this infringement is Defendants’ Mavic Series drones, including, but

   not limited to the Mavic 2 Pro. The Mavic 2 Pro houses a receiver/transmitter on-board,

   which serves as the server-side socket transmitting downlink telemetry to the UAV user’s

   remote-control device through one or more application programs, including, but not

   limited to the DJI GO 4 application or the DJI GS Pro application (depending on the

   user’s selection). Then using the selected remote-control device application, which may

   serve as the client socket, uplink telemetry and flight control instructions are transmitted

   back to the UAV.

22. The ‘913 patent overcomes shortcomings in the prior art, which required conventional

   UAV operators to manually control the flight using the camera images from the UAV that

   were provided to the operator through downlink telemetry (col. 1, lines 18-21). Certain of

   the inventive aspects of the ‘913 patent addressed the need for improvements in the area

   of UAV navigation, by automating certain aspects of the UAV mission (col. 1, lines 25-



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    28). More specifically, the inventive aspects of automatically selecting waypoints using a

    mouseclick or joystick button click, to control the flight path of the UAV (col. 1, lines 33-

    35), were not well-understood, routine, or conventional at the time of the invention.

    Moreover, the ability to upload multiple waypoints enabled more complex missions to be

    performed with just a few keystrokes or mouseclicks on the remote control device (col. 1,

    lines 64-67 and col. 2, lines 1-2, 10-11), and the use of a socket to facilitate

    communications between the UAV and the remote control device (col. 2, lines 34-37),

    were also not well-understood, routine, or conventional at the time of the invention.

                                 COUNT I
                  PATENT INFRINGEMENT OF THE ‘232 PATENT

23. Plaintiff Daedalus Blue repeats and realleges the above paragraphs, which are

    incorporated by reference as if fully restated herein.

24. Plaintiff Daedalus Blue is the owner of all rights, title, and interest in the ‘232 patent.

25. Plaintiff Daedalus Blue and predecessors in interest have never licensed any of the

    Defendants under the ‘232 patent, nor has Plaintiff Daedalus Blue otherwise authorized

    any of the Defendants to practice any part of the ‘232 patent.

26. The ‘232 patent is presumed valid under 35 U.S.C. §282.

27. The ‘232 patent relates to, among other things, navigation technology that enables

    obstacle avoidance by UAVs.

28. On information and belief, Defendants manufacture and market DJI branded products.

    Exhibit D.

29. On information and belief, Defendants distribute, sell, and market such DJI branded

    products, as well as remote controls, parts, and accessories for such DJI branded

    products. Exhibit E.

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30. Direct Infringement: On information and belief, Defendants have directly infringed and

   continue to directly infringe, either literally or under the doctrine of equivalents, one or

   more claims of the ‘232, including for example (but not limited to) at least method claims

   1-6, system claims 7-12, and computer program product claims 13-18 of the ‘232 patent

   by making, using, selling, offering to sell, or importing without license or authority,

   Defendants’ suite of infringing drone and drone-related products, including, but not

   limited to, at least DJI products that correspond to DJI branded model lines including the

   Matrice 200 Series V2 (Matrice 200 V2, Matrice 210 V2); the Matrice 200 Series

   (Matrice 200, Matrice 210, Matrice 210RTK), Matrice 600 Pro, Matrice 600, Matrice

   100; the Inspire Series (Inspire 1, Inspire 1Pro/Raw, Inspire 2); the Mavic 2 Enterprise

   Series (Mavic 2 Enterprise, Mavic 2 Enterprise Dual); the Mavic Series (Mavic Mini,

   Mavic 2 Pro, Mavic 2 Zoom, Mavic Air, Mavic Pro Platinum); P4Multispectral; Phantom

   4 RTK; the Phantom 4 Series (Phantom 4 Pro V2.0, Phantom 4 Advanced, Phantom 4

   Pro, Phantom 4) (hereinafter “Defendants’ UAVs”); and the DJI GO application, DJI GO

   4 application, DJI GS Pro application, DJI Terra application and FlightHub application,

   together with their compatible controllers (hereinafter “Defendants’ “Flight Control

   Components”), without Plaintiff Daedalus Blue’s authorization, in violation of 35 U.S.C.

   §271(a). See Exhibit F (depicting specifications, instruction manuals, and downloads of

   products for all Defendants’ UAVs and Defendants’ Flight Control Components). A

   detailed infringement claim mapping is provided in paragraphs 42-50 below.

31. On information and belief, Defendants have been aware of the ‘232 patent since at least

   June 19, 2014. The ‘232 patent is well known in the industry – having been cited in at




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   least 95 cited patents since its filing date, including in at least 17 of Defendants’ own

   patents:

    Patent Number                                     Patent Title
    US9483950           Flight control for flight-restricted regions
    US10029789          Context-based flight mode selection
    US20160068267       Context-based flight mode selection
    US20160070264       Velocity control for an unmanned aerial vehicle
    WO2016033795        Velocity control for an unmanned aerial vehicle
    US9317036           Flight control for flight-restricted regions
    US9592911           Context-based flight mode selection
    US9604723           Context-based flight mode selection
    US9625907           Velocity control for an unmanned aerial vehicle
    US9625909           Velocity control for an unmanned aerial vehicle
    US9704408           Flight control for flight-restricted regions
    US9842505           Flight control for flight-restricted regions
    US10001778          Velocity control for an unmanned aerial vehicle
    US10240930          Sensor Fusion
    US20160070265       Multi-sensor environmental mapping
    US10429839          Multi-sensor environmental mapping
    US10421543          Context-based flight mode selection

   With this in mind, in accordance with 35 U.S.C. §287(a), Defendants had constructive

   and actual notice of the existence of the ‘232 patent and have been aware of the ‘232

   patent since at least June 19, 2014, when Defendants cited the ‘232 patent to the United

   States Patent and Trademark Office in an Information Disclosure Statement

   (PTO/SB/08b) as being material to the patentability of Defendants’ own patent, U.S.

   Patent No. 9,317,036 (italicized above).

32. Induced Infringement: On information and belief, Defendants have and continue to

   promote, advertise, and instruct customers and potential customers about DJI products,

   such as Defendants’ UAVs and Defendants’ Flight Control Components (see ¶ 30), and

   how to use DJI branded products, including infringing uses. Defendants’ promotion,

   advertising, and instruction efforts include, at a minimum, maintenance of its own

   website http://www.dji.com, as well as support via third party resellers. See Exhibit G.

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   Defendants also provided mission planning and control applications for mobile

   computing devices, such as smartphones, laptops, and tablets, which allows consumers to

   use the infringing features of the products. Such applications include, but are not limited

   to Defendants’ Flight Control Components (see ¶ 30), which allow users to control the

   gimbal, camera, navigation, and other aircraft functions of the infringing UAV products.

   On information and belief, Defendants engaged in these acts with the actual intent to

   cause the acts which they knew or should have known would induce actual infringement.

33. Contributory Infringement: On information and belief, Defendants knew or should

   have known that at least DJI branded model lines identified above in Paragraph 30 utilize

   flight planning and control programs implementing “Obstacle Avoidance Algorithms”

   that aid the user of the Defendants’ products, as the products autonomously avoid

   obstacles by GPS based avoidance of two- or three-dimensional geographic areas (e.g. no

   fly zones or restricted zones) or three-dimensional physical objects. Such obstacle

   avoidance algorithms, stored both on-board Defendants’ UAVs and within Defendants’

   applications, such as the DJI GO 4 Application and the DJI GS Pro Application, are

   especially made or especially adapted for use in an infringement of at least claims 1-18 of

   the ‘232 patent and have no substantially non-infringing uses in these drone and drone-

   related products.

34. On information and belief, the portions of Defendants’ products that allow the user to

   pilot the Defendants’ products in accordance with a selected obstacle avoidance algorithm

   as described in Paragraph 30, including DJI branded products made, marketed, used,

   sold, offered to sell, or imported by Defendants, are not staple articles or commodities of

   commerce suitable for substantial non-infringing use.



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35. Willful Infringement: As set forth in paragraph 31 above, in accordance with 35 U.S.C.

   §287(a), Defendants had constructive and actual notice of the existence of the ‘232

   patent, and have been aware of the ‘232 patent since at least June 19, 2014, when

   Defendants cited the ‘232 patent to the United States Patent and Trademark Office in an

   Information Disclosure Statement.

36. On information and belief, the International Business Machines Corporation (“IBM”), a

   past predecessor in interest of the ‘232 patent, and Defendants engaged in discussions

   regarding the ‘232 patent, on or about October 16, 2017, if not earlier since the October

   16, 2017 remarks referenced prior written exchanges between IBM and DJI. Therefore,

   Defendants also had actual knowledge of the ‘232 patent at least as of October 16, 2017.

   And yet, even with full knowledge of Daedalus Blue’s patent rights (acquired through

   IBM), Defendants have continued to commit acts of infringement and have failed to

   cease their infringing activities. Because Defendants have been aware of the ‘232 patent,

   but acted despite an objectively high likelihood that their actions constituted infringement

   of a valid patent, Defendants’ infringement has been, and continues to be, egregious and

   willful.

37. Detailed Mapping of Direct Infringement: On information and belief, with regard to

   the claim elements of the ‘232 patent, the DJI Mavic Series, Matrice Series, Phantom

   Series, Spark Series, Multispectral Series, and Inspire Series, as further laid out in

   Paragraph 30, function similarly to each other. Infringement of the ‘232 patent by these

   DJI drones and drone-related products is demonstrated below using the Mavic Series

   UAV (including the Mavic 2 Pro) as an example. Method claims 1-6 of the ‘232 patent




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   are representative of, and are of similar scope to system claims 7-12 and computer

   program product claims 13-18 of the ‘232 patent.

38. Method claim 1 is representative of the alleged claims:

   1. A method for navigating a UAV, the method comprising:
           piloting the UAV, under control of a navigation computer, in accordance with a
   navigation algorithm;
           while piloting the UAV:
           reading from a GPS receiver a sequence of GPS data;
           anticipating a future position of the UAV in dependence upon the sequence of
   GPS data;
           identifying an obstacle in dependence upon the future position;
   selecting an obstacle avoidance algorithm; and
   piloting the UAV in accordance with the selected obstacle avoidance algorithm.

39. On information and belief, the Mavic Series UAV (“Mavic”) performs a method for

   navigating an unmanned aerial vehicle (“UAV”).

40. On information and belief, the Mavic pilots the UAV under control of a navigation

   computer, in accordance with a navigation algorithm.




   User’s Manual, DJI GS Pro at p. 6




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https://www.youtube.com/watch?v=nWCbdMqfrE4




User’s Manual, DJI GS Pro at p. 5 and p. 18



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   User’s Manual, DJI GS Pro at p. 20

41. On information and belief, the Mavic, while piloting the UAV, reads from a GPS receiver

   a sequence of GPS data.




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   User’s Manual, Mavic 2 Pro/Zoom at p. 62




   https://www.youtube.com/watch?v=nWCbdMqfrE4

42. On information and belief, the Mavic anticipates a future position of the UAV in

   dependence upon the sequence of GPS data.




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   User’s Manual, Mavic 2 Pro/Zoom at p. 17

43. On information and belief, the Mavic identifies an obstacle in dependence upon the future

   position.




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   User’s Manual, Mavic 2 Pro/Zoom at p. 17

44. On information and belief, the Mavic selects an obstacle avoidance algorithm.




   User’s Manual, Mavic 2 Pro/Zoom at p. 17


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45. On information and belief, the Mavic pilots the UAV in accordance with the selected

   obstacle avoidance algorithm.




   User’s Manual, Mavic 2 Pro/Zoom at p. 17

46. On information and belief, Defendants’ actions have and continue to constitute active

   inducement and contributory infringement of at least claims 1-6, 7-12, and 13-18 of the

   ‘232 patent in violation of 35 U.S.C. §271(b) and 271(c).

47. As a result of Defendants’ infringement of at least claims 1-6, 7-12, and 13-18 of the ‘232

   patent, Plaintiff Daedalus Blue has suffered monetary damages in an amount yet to be

   determined, and will continue to suffer damages in the future unless Defendants’

   infringing activities are enjoined by this Court.

48. Defendants’ wrongful acts have damaged and will continue to damage Plaintiff Daedalus

   Blue irreparably, and Plaintiff has no adequate remedy at law for those wrongs and

   injuries. In addition to its actual damages, Plaintiff Daedalus Blue is entitled to a


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    permanent injunction restraining and enjoining Defendants and their respective agents,

    servants, and employees, and all person acting thereunder, in concert with, or on its

    behalf, from infringing at least claims 1-6, 7-12, and 13-18 of the ‘232 patent.

                                 COUNT II
                  PATENT INFRINGEMENT OF THE ‘294 PATENT

49. Plaintiff Daedalus Blue repeats and realleges the above paragraphs, which are

    incorporated by reference as if fully restated herein.

50. Plaintiff Daedalus Blue is the owner of all rights, title, and interest in the ‘294 patent.

51. Plaintiff Daedalus Blue and predecessors in interest have never licensed any of the

    Defendants under the ‘294 patent, nor has Plaintiff Daedalus Blue otherwise authorized

    any of the Defendants to practice any part of the ‘294 patent.

52. The ‘294 patent is presumed valid under 35 U.S.C. § 282.

53. The ‘294 patent relates to, among other things, navigation technology that enables a user

    to pilot a UAV through use of a remote-control device with a Graphical User Interface

    (GUI) map.

54. On information and belief, Defendants manufacture and market DJI branded products.

    Exhibit D.

55. On information and belief, Defendants distribute, sell, and market such DJI branded

    products, as well as remote controls, flight planning and control programs, parts, and

    accessories for such DJI branded products. Exhibit E.

56. Direct Infringement: On information and belief, Defendants have directly infringed and

    continue to directly infringe, either literally and/or under the doctrine of equivalents, at

    least method claims 1-11, system claims 12-22, and computer program product claims

    23-33 of the ‘294 patent by making, using, selling, offering to sell, or importing without

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   license or authority, Defendants’ suite of drone and drone-related products, including, but

   not limited to, at least DJI products that correspond to Defendants’ UAVs and

   Defendants’ Flight Control Components (see ¶ 30), without Plaintiff Daedalus Blue’s

   authorization, in violation of 35 U.S.C. §271(a). See Exhibit F. A detailed infringement

   claim mapping is provided in paragraphs 70-77 below.

57. On information and belief, Defendants have been aware of the ‘294 patent since at least

   February 11, 2015. The ‘294 patent is well known in the industry – having been cited in

   at least 70 cited patents since its filing date, including in at least 16 of Defendants’ own

   patents:

    Patent Number                                     Patent Title
    US9483950           Flight control for flight-restricted regions
    US10029789          Context-based flight mode selection
    US20150254988       Flight control for flight-restricted regions
    US20160068267       Context-based flight mode selection
    US20160070264       Velocity control for an unmanned aerial vehicle
    US9317036           Flight control for flight-restricted regions
    US9592911           Context-based flight mode selection
    US9604723           Context-based flight mode selection
    US9625907           Velocity control for an unmanned aerial vehicle
    US9625909           Velocity control for an unmanned aerial vehicle
    US9704408           Flight control for flight-restricted regions
    US9842505           Flight control for flight-restricted regions
    US10001778          Velocity control for an unmanned aerial vehicle
    US10240930          Sensor Fusion
    US10429839          Multi-sensor environmental mapping
    US10421543          Context-based flight mode selection

   With this in mind, in accordance with 35 U.S.C. §287(a), Defendants had constructive

   and actual notice of the existence of the ‘294 patent and have been aware of the ‘294

   patent since at least February 11, 2015, because on that date, the United States Patent and

   Trademark Office cited the ‘294 patent to reject the patentability of Defendants’ own

   patent, U.S. Patent No. 9,317,036 (italicized above).


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58. Induced Infringement: On information and belief, Defendants have and continue to

   promote, advertise, and instruct customers and potential customers about DJI products,

   such as Defendants’ UAVs and Defendants’ Flight Control Components (see ¶ 30), and

   how to use DJI branded products, including infringing uses. Defendants’ promotion,

   advertising, and instruction efforts include, at a minimum, maintenance of its own

   website http://www.dji.com, as well as support via third party resellers. See Exhibit G.

   Defendants also provided mission planning and control applications for mobile

   computing devices, such as smartphones, laptops and tablets, which allows consumers to

   use the infringing features of the products. Such applications include, but are not limited

   to, Defendants’ Flight Control Components (see ¶ 30), which allow users to control the

   gimbal, camera, navigation, and other aircraft functions of the infringing UAV products.

   On information and belief, Defendants engaged in these acts with the actual intent to

   cause the acts which they knew or should have known would induce actual infringement.

59. Contributory Infringement: On information and belief, Defendants knew or should

   have known that at least DJI branded model lines identified above in Paragraph 30 utilize

   at least four mission planning and UAV control programs implementing “Navigation

   Algorithms” that allow the user to control the Defendants’ product by means of a remote

   control with GUI map pixels representing waypoints: (1) the DJI GO 4 application, (2)

   the DJI GS Pro application, (3) DJI Terra, or (4) DJI FlightHub. Such navigation

   algorithms are especially made or especially adapted for use in an infringement of at least

   method claims 1-11, system claims 12-22, and computer program product claims 23-33

   of the ‘294 patent and have no substantially non-infringing uses in these drone and drone-

   related products.



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60. On information and belief, the portions of Defendants’ products that allow the user to

   pilot the Defendants’ products in accordance with a navigation algorithm as described in

   Paragraph 59, including DJI branded products made, marketed, used, sold, offered to sell,

   or imported by Defendants, are not staple articles or commodities of commerce suitable

   for substantial non-infringing use.

61. On information and belief, DJI drones and drone-related products listed above were sold

   with remote-control devices equipped with, or able to be equipped with, GUI mapping.

   Such remote-control devices could also be purchased separately from the DJI drone and

   drone-related products. Additionally, users of the DJI drone and drone-related products

   could download and install DJI brand applications and software (DJI GO 4, DJI Terra,

   DJI FlightHub, DJI GS Pro) onto mobile computing devices (smartphones, laptop,

   tablets) to effectively turn said devices into remote controls equipped with GUI mapping.

62. On information and belief, the portions of Defendants’ products that allow the user to

   pilot the Defendants’ products in accordance with a navigation algorithm as described in

   Paragraph 61, including DJI branded products made, marketed, used, sold, offered to sell,

   or imported by Defendants, are not staple articles or commodities of commerce suitable

   for substantial non-infringing use.

63. Willful Infringement: As set forth in paragraph 57 above, in accordance with 35 U.S.C.

   § 287(a), Defendants had constructive and actual notice of the existence of the ‘294

   patent and have been aware of the ‘294 patent since at least February 11, 2015, when the

   United States Patent and Trademark Office cited the ‘294 patent to reject the patentability

   of Defendants’ own patent.




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64. On information and belief, IBM, a past predecessor in interest of the ‘294 patent, and

   Defendants engaged in discussions regarding the ‘294 patent, on or about October 16,

   2017, if not earlier since the October 16, 2017 remarks referenced prior written

   exchanges between IBM and DJI. Therefore, Defendants also had actual knowledge of

   the ‘294 patent at least as of October 16, 2017. And yet, even with full knowledge of

   Daedalus Blue’s patent rights (acquired through IBM), Defendants have continued to

   commit acts of infringement and have failed to cease their infringing activities. Because

   Defendants have been aware of the ‘294 patent, but acted despite an objectively high

   likelihood that their actions constituted infringement of a valid patent, Defendants’

   infringement has been, and continues to be, egregious and willful.

65. Detailed Mapping of Direct Infringement: On information and belief, with regard to

   the claim elements of the ‘294 patent, the DJI Mavic Series, Matrice Series, Phantom

   Series, Spark Series, Multispectral Series, and Inspire Series, as further laid out in

   Paragraph 30, function similarly to each other. Infringement of the ‘294 patent by these

   DJI drones and drone-related products is demonstrated below using the Phantom 4 Pro

   Series UAV (including V2.0) as an example. Method claims 1-11 of the ‘294 patent are

   representative of, and of similar scope to system claims 12-22 and computer program

   product claims 23-33 of the ‘294 patent.

66. Method claim 1 is representative of the alleged claims:

   1. A method for navigating an unmanned aerial vehicle (“UAV”), the method
   comprising:
          receiving in a remote control device a user's selection of a GUI map pixel that
   represents a waypoint for UAV navigation, the pixel having a location on the GUI;
          mapping the pixel’s location on the GUI to Earth coordinates of the waypoint;
          transmitting the coordinates of the waypoint to the UAV;
          reading a starting position from a GPS receiver on the UAV; and



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           piloting the UAV, under control of a navigation computer on the UAV, from the
   starting position to the waypoint in accordance with a navigation algorithm.

67. On information and belief, the Phantom 4 Pro Series UAV (“Phantom 4”) performs a

   method for navigating an unmanned aerial vehicle (“UAV”).

68. On information and belief, the Phantom 4 receives in a remote-control device a user’s

   selection of a GUI map pixel that represents a waypoint for UAV navigation, the pixel

   having a location on the GUI. On information and belief, the Phantom 4 can utilize both

   the DJI GO 4 application and the DJI GS Pro application.




   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 36




   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 2




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User’s Manual, DJI GS Pro at p. 5 and p. 18




Phantom 4 Pro V2.0 remote-control device compatible with DJI GO 4 App,
https://www.dji.com/phantom-4-pro-v2




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   A remote-control device (iPad) compatible with Phantom 4 Pro V2.0 through the DJI GS
   Pro app, https://www.dji.com/ground-station-pro/info#downloads

69. On information and belief, the Phantom 4 maps the pixel’s location the GUI to Earth

   coordinates of the waypoint.




   Remote-control device for use with DJI GO 4 App, https://store.dji.com/guides/dji-go-4-
   manual/




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DJI’s YouTube channel, https://www.youtube.com/watch?v=zvvbMxQ9Hj0




https://www.youtube.com/watch?v=qRrjvOi_dFA




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A remote-control device for use with DJI GS Pro App, https://www.dji.com/ground-
station-pro/info#downloads




User’s Manual, DJI GS Pro at p. 22-3

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70. On information and belief, the Phantom 4 transmits the coordinates of the waypoint to the

   UAV.




   User’s Manual, DJI GS Pro at p. 6




   https://www.youtube.com/watch?v=1nuPypFQ3nI

71. On information and belief, the Phantom 4 reads a starting position from a GPS receiver

   on the UAV.




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   DJI’s YouTube channel, https://www.youtube.com/watch?v=zvvbMxQ9Hj0




   User’s Manual, DJI GS Pro at p. 20

72. On information and belief, the Phantom 4 is piloted under control of a navigation

   computer on-board, from the starting point to the waypoint in accordance with a

   navigation algorithm.




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User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 13




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   DJI’s YouTube channel, https://www.youtube.com/watch?v=zvvbMxQ9Hj0

73. On information and belief, Defendants’ actions have and continue to constitute active

   inducement and contributory infringement of at least claims 1-33 of the ‘294 patent in

   violation of 35 U.S.C. § 271(b) and 271(c).

74. As a result of Defendants’ infringement of at least claims 1-33 of the ‘294 patent,

   Plaintiff Daedalus Blue has suffered monetary damages in an amount yet to be

   determined, and will continue to suffer damages in the future unless Defendants’

   infringing activities are enjoined by this Court.

75. Defendants’ wrongful acts have damaged and will continue to damage Plaintiff Daedalus

   Blue irreparably, and Plaintiff has no adequate remedy at law for those wrongs and

   injuries. In addition to its actual damages, Plaintiff Daedalus Blue is entitled to a

   permanent injunction restraining and enjoining Defendants and their respective agents,

   servants, and employees, and all person acting thereunder, in concert with, or on its

   behalf, from infringing at least claims 1-33 of the ‘294 patent.



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                                COUNT III
                  PATENT INFRINGEMENT OF THE ‘913 PATENT

76. Plaintiff Daedalus Blue repeats and realleges the above paragraphs, which are

    incorporated by reference as if fully restated herein.

77. Plaintiff Daedalus Blue is the owner of all rights, title, and interest in the ‘913 patent.

78. Plaintiff Daedalus Blue and predecessors in interest have never licensed any of the

    Defendants under the ‘913 patent, nor has Plaintiff Daedalus Blue otherwise authorized

    any of the Defendants to practice any part of the ‘913 patent.

79. The ‘913 patent is presumed valid under 35 U.S.C. §282.

80. The ‘913 patent relates to, among other things, navigation technology that enables a user

    to pilot a UAV using a socket to transmit downlink telemetry from the UAV to the user’s

    remote control device and then uplink telemetry from the remote control device back to

    the UAV.

81. On information and belief, Defendants manufacture and market DJI branded products.

    Exhibit D.

82. On information and belief, Defendants distribute, sell, and market such DJI branded

    products, as well as remote controls, flight planning and control applications, parts, and

    accessories for such DJI branded products. Exhibit E.

83. Direct Infringement: On information and belief, Defendants have directly infringed and

    continue to directly infringe, either literally or under the doctrine of equivalents, one or

    more claims of the ‘913, including for example (but not limited to) at least method claims

    1-15, system claims 16-30, and computer program product claims 31-45 of the ‘913

    patent by making, using, selling, offering to sell, or importing without license or

    authority, Defendants’ suite of drone and drone-related products, including, but not

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   limited to, at least DJI products that correspond to Defendants’ UAVs and Defendants’

   Flight Control Components (see ¶ 30), without Plaintiff Daedalus Blue’s authorization, in

   violation of 35 U.S.C. §271(a). See Exhibit F. A detailed infringement claim mapping is

   provided in paragraphs 95-103 below.

84. On information and belief, Defendants have been aware of the ‘913 patent since at least

   January 11, 2015. The ‘913 patent is well known in the industry – having been cited in at

   least 49 cited patents since its filing date, including in at least three of Defendants’ own

   patents:

    Patent Number                                Patent Title
    US9457915           Systems and methods for UAV docking
    US10059467          Systems and methods for UAV docking
    US9302783           Systems and methods for UAV docking

   With this in mind, in accordance with 35 U.S.C. §287(a), Defendants had constructive

   and actual notice of the existence of the ‘913 patent and have been aware of the ‘913

   patent since at least January 11, 2015, because on that date, the United States Patent and

   Trademark Office cited the ‘913 patent in a List of Referenced Cited by Examiner in

   connection with Defendants’ own patent, U.S. Patent No. 9,302,783 (italicized above).

85. Induced Infringement: On information and belief, Defendants have and continue to

   promote, advertise, and instruct customers and potential customers about DJI products,

   such as Defendants’ UAVs and Defendants’ Flight Control Components (see ¶30), and

   how to use DJI branded products, including infringing uses. Defendants’ promotion,

   advertising, and instruction efforts include, at a minimum, maintenance of its own

   website http://www.dji.com, as well as support via third party resellers. See Exhibit G.

   Defendants also provided applications for mobile computing devices, such as

   smartphones, laptops, and tablets, which allows consumers to use the infringing features

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   of the products. Such applications include, but is not limited to Defendants’ Flight

   Control Components (see ¶30), which allow users to control the gimbal, camera,

   navigation and other aircraft functions of the infringing UAV products. On information

   and belief, Defendants engaged in these acts with the actual intent to cause the acts which

   they knew or should have known would induce actual infringement.

86. Contributory Infringement: On information and belief, Defendants knew or should

   have known that at least DJI branded model lines identified above in Paragraph 30 utilize

   at least three mission planning and UAV control applications implementing “Navigation

   Algorithms” that allow the user to control the Defendants’ product by means of a remote

   control with GUI map pixels representing waypoints: (1) the DJI GO 4, (2) the DJI GS

   Pro, (3) DJI Terra, and (4) DJI FlightHub. Such navigation algorithms are especially

   made or especially adapted for use in an infringement of at least method claims 1-15,

   system claims 16-30, and computer program product claims 31-45 of the ‘913 patent and

   have no substantially non-infringing uses in these drone and drone-related products.

87. On information and belief, the portions of Defendants’ products that allow the user to

   pilot the Defendants’ products in accordance with a navigation algorithm as described in

   Paragraph 85, including DJI branded products made, marketed, used, sold, offered to sell,

   or imported by Defendants, are not staple articles or commodities of commerce suitable

   for substantial non-infringing use.

88. Willful Infringement: As set forth in paragraph 84 above, in accordance with 35 U.S.C.

   §287(a), Defendants had constructive and actual notice of the existence of the ‘913 patent

   and have been aware of the ‘913 patent since at least January 11, 2015, when the United




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   States Patent and Trademark Office cited the ‘913 patent to reject the patentability of

   Defendants’ own patent.

89. On information and belief, IBM, a past predecessor in interest of the ‘913 patent, and

   Defendants engaged in discussions regarding the ‘913 patent, on or about October 16,

   2017, if not earlier since the October 16, 2017 remarks referenced prior written

   exchanges between IBM and DJI. Therefore, Defendants also had actual knowledge of

   the ‘913 patent at least as of October 16, 2017. And yet, even with full knowledge of

   Daedalus Blue’s patent rights (acquired through IBM), Defendants have continued to

   commit acts of infringement and have failed to cease their infringing activities. Because

   Defendants have been aware of the ‘913 patent, but acted despite an objectively high

   likelihood that their actions constituted infringement of a valid patent, Defendants’

   infringement has been egregious, and continues to be, willful.

90. Detailed Mapping of Direct Infringement: On information and belief, with regard to

   the claim elements of the ‘913 patent, the DJI Mavic Series, Matrice Series, Phantom

   Series, Spark Series, Multispectral Series and Inspire Series, as further laid out in

   Paragraph 30, function similarly to each other. Infringement of the ‘913 patent by these

   DJI drones and drone-related products is demonstrated below using the Phantom 4 Pro

   Series UAV (including V2.0) as an example. Method claims 1-15 of the ‘913 patent are

   representative of, and similar in scope to system claims 16-30 and computer program

   product claims 31-45 of the ‘913 patent.

91. Method claim 1 is representative of the alleged claims:

          1. A method for navigating an Unmanned Aerial Vehicle (UAV), the method
   comprising:
          receiving in a remote control device a user’s selection of a GUI map pixel that
   represents a waypoint for UAV navigation, the pixel having a location on the GUI;

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           mapping the pixel’s location on the GUI to Earth coordinates of the waypoint;
           receiving downlink telemetry, including a starting position from a GPS receiver
   on the UAV, from the UAV through a socket on the remote control device;
           calculating a heading in dependence upon the starting position, the coordinates of
   the waypoint, and a navigation algorithm;
           identifying flight control instructions for flying the UAV on the heading; and
           transmitting uplink telemetry, including the flight control instructions, through the
   socket to the UAV.

92. The Phantom 4 Pro Series UAV (“Phantom 4”) performs a method for navigating an

   unmanned aerial vehicle (“UAV”).

93. On information and belief, the Phantom 4 receives in a remote-control device a user’s

   selection of a GUI map pixel that represents a waypoint for UAV navigation, the pixel

   having a location on the GUI. On information and belief, the Phantom 4 can utilize both

   the DJI GO 4 application and the DJI GS Pro application.




   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 36




   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 2




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User’s Manual, DJI GS Pro at p. 5 and p. 18




Phantom 4 Pro V2.0 remote-control device compatible with DJI GO 4 App,
https://www.dji.com/phantom-4-pro-v2




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   A remote-control device (iPad) compatible with Phantom 4 Pro V2.0 through the DJI GS
   Pro app, https://www.dji.com/ground-station-pro/info#downloads

94. On information and belief, the Phantom 4 maps the pixel’s location the GUI to Earth

   coordinates of the waypoint.




   Remote-control device for use with DJI GO 4 App, https://store.dji.com/guides/dji-go-4-
   manual/




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DJI’s YouTube channel, https://www.youtube.com/watch?v=zvvbMxQ9Hj0




https://www.youtube.com/watch?v=qRrjvOi_dFA




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A remote-control device for use with DJI GS Pro App, https://www.dji.com/ground-
station-pro/info#downloads




User’s Manual, DJI GS Pro at p. 22-3


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95. On information and belief, the Phantom 4 receives downlink telemetry, including a

   starting position from a GPS receiver on the UAV, from the UAV through a socket on a

   remote-control device.




   User’s Manual, DJI GS Pro at p. 23




   User’s Manual, DJI GS Pro at p. 6




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   https://www.youtube.com/watch?v=1nuPypFQ3nI




   https://developer.dji.com/mobile-sdk/documentation/introduction/component-guide-
   airlink.html

96. On information and belief, the Phantom 4 calculates a heading in dependence upon the

   starting position, the coordinates of the waypoint, and a navigation algorithm.

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User’s Manual, DJI GS Pro at p. 30




DJI’s YouTube channel, https://www.youtube.com/watch?v=zvvbMxQ9Hj0




User’s Manual, DJI GS Pro at p. 20




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   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 13

97. On information and belief, the Phantom 4 identifies flight control instructions for flying

   the UAV on the heading.




   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 13


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   DJI’s YouTube channel, https://www.youtube.com/watch?v=zvvbMxQ9Hj0

98. On information and belief, the Phantom 4 transmits uplink telemetry, including the flight

   control instructions, through the socket to the UAV.




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User’s Manual, DJI GS Pro at p. 23 and p. 18-9




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   User’s Manual, DJI Phantom 4 Pro/Pro+ series at p. 49




   https://developer.dji.com/mobile-sdk/documentation/introduction/component-guide-
   airlink.html

99. On information and belief, at least Defendants’ Mobile SDK AirLink, which “describes

   the wireless link between aircraft, remote controllers, handheld cameras and mobile

   devices,” operates as an end-point of a two-way communication link between two

   application programs running on a network. In other words, Defendant’s Mobile SDK

   AirLink operates as a socket.




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https://developer.dji.com/mobile-sdk/documentation/introduction/component-guide-
airlink.html




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https://developer.dji.com/mobile-sdk/documentation/introduction/component-guide-
airlink.html




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   https://developer.dji.com/mobile-sdk/documentation/introduction/component-guide-
   airlink.html

100.       On information and belief, Defendants’ actions have and continue to constitute

   active inducement and contributory infringement of at least claims 1-45 of the ‘913

   patent in violation of 35 U.S.C. §271(b) and 271(c).

101.       As a result of Defendants’ infringement of at least claims 1-45 of the ‘913 patent,

   Plaintiff Daedalus Blue has suffered monetary damages in an amount yet to be

   determined, and will continue to suffer damages in the future unless Defendants’

   infringing activities are enjoined by this Court.

102.       Defendants’ wrongful acts have damaged and will continue to damage Plaintiff

   Daedalus Blue irreparably, and Plaintiff has no adequate remedy at law for those wrongs

   and injuries. In addition to its actual damages, Plaintiff Daedalus Blue is entitled to a

   permanent injunction restraining and enjoining Defendants and their respective agents,

   servants, and employees, and all person acting thereunder, in concert with, or on its

   behalf, from infringing at least claims 1-45 of the ‘913 patent.

                                PRAYER FOR RELIEF

   WHEREFORE, Plaintiff Daedalus Blue respectfully requests that this Court enter:

A. A judgment in favor of Plaintiff Daedalus Blue that Defendants have been and are

   infringing at least claims 1-18 of the ‘232 patent, claims 1-33 of the ‘294 patent, and

   claims 1-45 of the ‘913 patent pursuant to 35 U.S.C. §§ 271(a), 271(b) and/or 271(c);




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B. A preliminary and permanent injunction enjoining Defendants and their respective

   officers, directors, agents, servants, affiliates, employees, divisions, branches,

   subsidiaries, parents, and all others acting in concert or privity with any of them from

   infringing, inducing the infringement of, or contributing to the infringement of, at least

   claims 1-18 of the ‘232 patent, claims 1-33 of the ‘294 patent, and claims 1-45 of the

   ‘913 patent;

C. A judgment awarding Plaintiff Daedalus Blue all damages adequate to compensate it for

   Defendants’ infringement of the Daedalus Blue Patents, and in no event less than a

   reasonable royalty for Defendants’ acts of infringement, including all pre-judgment and

   post-judgment interest at the maximum rate permitted by law, and including all past

   damages prior to filing this Complaint in accordance with 35 U.S.C. § 286, as a result of

   Defendants’ infringement of at least claims 1-18 of the ‘232 patent, claims 1-33 of the

   ‘294 patent, and claims 1-45 of the ‘913 patent.

D. An award of enhanced damages as a result of SZ DJI Technology Co., Ltd.’s and DJI

   Europe B.V.’s willful infringement of at least claims 1-18 of the ‘232 patent, claims 1-33

   of the ‘294 patent, and claims 1-45 of the ‘913 patent, after being apprised of these

   patents, as provided under 35 U.S.C. § 284;

E. An assessment of costs, including reasonable attorney fees pursuant to 35 U.S.C. § 285,

   and prejudgment interest against Defendants; and

F. Such other and further relief as this Court may deem just and proper.




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                                 JURY TRIAL DEMANDED

Pursuant to FED. R. CIV. P. 38, Plaintiff Daedalus Blue hereby demands a trial by jury on

all issues so triable.

Dated: January 31, 2020                             Respectfully submitted,


                                                    /s/ Thomas M. Dunlap
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